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U'S_' Depa"me“t °fJ“Sti°e, PROCESS RECEIPT AND RETURN
Umted States Marshals Servlce See ”lnslrucrions 0/' Se/vice 0 `Process b U.S. Marshal"

 

 

 

PLAINT!FF COURT CASE NUMBER
Kamme O. 4: l 7-cv-3 877
DEFENDANT . TYPE OF PROCESS
Texas A&M University and System Summons

 

 

Joni E. Baker, Director, Equal Opportunity & Diversity

NAME OF INDIVlDUAL, COMPANY CORPORATION ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR COND€MIED ct‘;?lz_=;as
SERVE
ADDRESS (Srree! or RFD, Apartmem No., City, State and ZIP Code) va ,

. ‘ J
_ 301 Tarrow St. John B. Connally Bldg. Room 605A, College Statlon, Brazos, Texas 77840 ` ` Bra
SEND NOTICE OF SERVlCE COPY TO REQUESTER AT NAME AND ADDRESS BELOW Number of process to be
_ served with this Forrn 285 1

l U.S. District Clerks Office

 

 

 

 

 

Number of parties to be
515 Rusk St. served in this case l
Houston, Texas 77002
Check for service
on U.S.A. 0

 

 

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSlST IN EXPEDITING SERVICE (Include Business andAlternale Addresses
All Teleph one Numbers, and Estimated Times Availablefor Service):

 

 

Fo|d

 

 

 

 

 

 

 

    

 

Fold
Signature of nMriginator requesting service on behalf of : [g] PLA[NTIFF TELEPHONE NUMBER DATE
/ ' El DEFENDANT 713-250-5500 12/26/17
SPACE BELO .FOR"USE OF U.S. MARSHAL ONLY-- DO NOT WRITE BELOW THIS LINE
l acknowledge receipt for § total ' `Total Process District of District to Signatu of Aut \. SMS Deputy or Clerk Date
number of piocess indicat. Origin Serve
fi;z"a;:"@f;nz§%:ii;£t?;; ' 1414 19 ly , , anna 1 ML@/r

 

 

 

 

 

 

 

 

l hereby certify and return that l m have personally served ,mgal evidence of service, l:i have executed as shown in "Remarks", the process described
on the individual , company, corporation, etc., at the address shown above on the on the individual , company, corporation, etc_ shown at the address inserted below.

[:l l hereby certify and return that l am unable to locate the individual, company, corporation, etc. named above (See remarks below)

Name and title of individual served (Ifnot shown above) [:[ A person nfsu,'tabye age and discretion
then residing in defendant's usual place
ofabode

Date Time

 

Address (complele only different than shown abave) m
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§~ Mf U%zjal or Deputy
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S)ce; "€YFee `.:;' T§f§§ Mileage Charges Forwarding Fee Total Charges Advance Deposit.s Am<)unt1)\\»1e'd"t{%1'_$`/3\4:1rsha`rray
___ , , inart§ding endeavors) (,1\mount of Rel`und*)

 

 

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»- ': C) - -` -
§ CZ’J .U)

 

 

blsTR.|BuTE T(): l. CLERK OF‘THE COURT PRIOR EDlTIONS MAY BE USED
2. USMS RECORD
3. NOTICE OF SERVICE
4. BlLLING STATEMENT*: To be returned to the U.S. Marshal with payment,
if any amount is owed. Please remit promptly payable to U.S. Marshal.

Form USM-285
5. ACKNOWLEDGMENT OF RECEIPT

Rev. ll/13

